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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LEAGUE OF WOMEN VOTERS EDUCATION
FUND, LEAGUE OF WOMEN VOTERS OF
THE UNITED STATES, LEAGUE OF WOMEN
VOTERS OF ARIZONA, HISPANIC
FEDERATION, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE, OCA – ASIAN PACIFIC AMERICAN
ADVOCATES, and ASIAN AND PACIFIC
ISLANDER AMERICAN VOTE,
                              Plaintiffs,              Case No. 1:25-cv-00995
           v.
DONALD J. TRUMP, in his official capacity as
President of the United States; UNITED STATES
ELECTION ASSISTANCE COMMISSION;
DONALD L. PALMER, in his official capacity as
Chairman and a Commissioner of the Election
Assistance Commission; THOMAS HICKS, in his
official capacity as Vice Chair and a
Commissioner of the Election Assistance
Commission; CHRISTY MCCORMICK and
BENJAMIN W. HOVLAND, in their official
capacities as Commissioners of the Election
Assistance Commission; and BRIANNA
SCHLETZ, in her official capacity as Executive
Director of the Election Assistance Commission,
                             Defendants.

                            MOTION TO APPEAR PRO HAC VICE

       Pursuant to LCvR 83.2(e)(2), Plaintiffs, through the undersigned counsel, respectfully

move for the admission pro hac vice of the following attorney who has undertaken the

representation of Plaintiffs in this matter as co-counsel:

      1. The attorney’s full name is Ethan Herenstein.

      2. The attorney’s office address and telephone number are American Civil Liberties Union

          Foundation, 125 Broad St., Fl. 18, New York, NY 10004, (212) 549-2500.

      3. The attorney is admitted to the following bar: New York State Bar (5743034).

      4. The attorney has not been disciplined by any bar.
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      5. The attorney has never been admitted pro hac vice in this Court within the last two years.

      6. The attorney is not a member of the District of Columbia Bar and does not have an

          application for membership pending.

      7. A certificate of the court or bar for the state in which the attorney regularly practices,

          which has been issued within thirty (30) days of filing and states that the attorney is a

          member in good standing of the bar of that state court is attached.

      8. An accompanying payment of $100 will be deposited in the fund described in LCvR

          83.8(f).

       WHEREFORE, Plaintiffs respectfully request that the Court permit this attorney to appear

pro hac vice.



 Date: April 2, 2025                              /s/ Megan C. Keenan
                                                   Megan C. Keenan (DC Bar No. 1672508)
                                                   AMERICAN CIVIL LIBERTIES UNION
                                                   FOUNDATION
                                                   915 15th St. NW
                                                   Washington, DC 20001
                                                   (740) 632-0671
                                                   mkeenan@aclu.org

                                                  Counsel for Plaintiffs League of Women Voters
                                                  Education Fund, League of Women Voters of
                                                  the United States, League of Women Voters of
                                                  Arizona, Hispanic Federation, National
                                                  Association for the Advancement of Colored
                                                  People, OCA-Asian Pacific American
                                                  Advocates, and Asian and Pacific Islander
                                                  American Vote
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2025, I electronically filed the foregoing with the Clerk of

Court by using CM/ECF, which automatically serves all counsel of record for the parties who

have appeared.


                                                /s/ Megan C. Keenan
                                                 Megan C. Keenan (DC Bar No. 1672508)
                                                 AMERICAN CIVIL LIBERTIES
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                                                Counsel for Plaintiffs League of Women Voters
                                                Education Fund, League of Women Voters of the
                                                United States, League of Women Voters of
                                                Arizona, Hispanic Federation, National
                                                Association for the Advancement of Colored
                                                People, OCA-Asian Pacific American Advocates,
                                                and Asian and Pacific Islander American Vote
